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 6

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 8

 9                                IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                           CASE NO. 1:15–CR-00286 AWI-BAM

13                                 Plaintiff,            STIPULATION AND ORDER

14                           v.

15   HAITHAM EID HABASH,
      aka Eddie Habash,
16
                                   Defendant.
17

18

19                                                STIPULATION

20          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

21       through his counsel of record, hereby stipulate as follows:

22                  1.      By previous order, this matter was set for a hearing on the government’s motion

23       for handwriting exemplar before this Court on May 9, 2016, at 2:30 p.m.

24                  2.      By this stipulation, the parties, having agreed to the taking of the exemplar

25       pursuant to the revised exemplar provided to the defense, now move to vacate the May 9 hearing.

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           Case 1:15-cr-00286-DAD-BAM Document 138 Filed 05/04/16 Page 2 of 2


 1                 IT IS SO STIPULATED.

 2

 3 Dated: May 3, 2016                                   BENJAMIN B. WAGNER
                                                        United States Attorney
 4
                                                        /s/ KAREN A. ESCOBAR
 5                                                      KAREN A. ESCOBAR
                                                        Assistant United States Attorney
 6
     Dated: May 3, 2016
 7                                                      /s/ SHAUN KHOJAYAN
                                                        SHAUN KHOJAYAN
 8                                                      Counsel for Defendant

 9
                                                   ORDER
10
            Based on the stipulation of the parties, the May 9, 2016 hearing is VACATED.
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     IT IS SO ORDERED.
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14       Dated:   May 3, 2016                             /s/ Barbara A. McAuliffe         _
                                                    UNITED STATES MAGISTRATE JUDGE
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